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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    NATHAN ELLERT,                                     CASE NO. C20-1088-JCC
10                          Plaintiff,                   MINUTE ORDER
11           v.

12    CHRISTIAN RESETARITS AND CHARITY
      FISHERIES, INC., IN PERSONAM; F/V
13    PATIENCE, OFFICIAL NUMBER 668232,
      HER ENGINES, MACHINERY,
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      APPURTENANCES AND CARGO, IN REM,
15
                            Defendants.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on Plaintiff’s motion for additional time to serve the
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     in personam defendants (Dkt. No. 4). Having thoroughly considered the motion, the attachment
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     thereto (Dkt. No. 5-1), and the relevant record, the Court finds good cause to extend the service
22
     deadline pursuant to Federal Rule of Civil Procedure 4(m). Accordingly, the Court hereby
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     GRANTS the motion and EXTENDS the deadline for Plaintiff to serve the in personam
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     defendants to December 23, 2020.
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26
     //

     MINUTE ORDER
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 1   DATED this 9th day of November 2020.

 2                                              William M. McCool
                                                Clerk of Court
 3
                                                s/Paula McNabb
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                                                Deputy Clerk
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     MINUTE ORDER
     C20-1088-JCC
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